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                                                                                                                                 2021 Jun-29 PM 02:41
                                                                                                                                 U.S. DISTRICT COURT
                                                                                                                                     N.D. OF ALABAMA




                     MOTION BY A PERSON IN FEDERAL CUSTODY ?inl ,,.,, -~:: , \ ;j:                                                      18
         TO VACATE, SET ASIDE, OR CORRECT SENTENCE UNDER 28 tf.S.C.·§·2255


     UNITED STATES DISTRICT COURT                              IDivisionNORTBERN DIST. ,.BIRMINGHAM··
  Name of MovanUDefendant
    JAVON SANTRELL FOSTER
                                                         I 36725-001 j 7:19-CR-349-LSC-JEO
                                                          Prisoner No.                       Case No.


  Place of Confinement (including address)
    TALLADEGA FCI MED/565 EAST RENFROE RD. TALLADEGA, AL 35160

  UNITED STATES OF AMERICA                                     V.   JA-.t)N SANTRELL FOSTER
                                                                                             (name under which convicted)


                                                                MOTION

1. Name and location of court which entered the judgment of conviction under attack:                            Northern
 District of Alabama, Federal Building, Tuscaloosa, Alabama

2. Date of judgment of conviction:           ___,,J~u...,n....,.,e____.,2._,,3,w,..._=2.,,.0--=2...,,0.___ _ _ _ _ _ _ _ _ _ _ _ _ __
                               l_-_3_0---'y:::.._e_a_r_s_;_C_t_._2_-_ _l_O___::y:...e_a_r_s_ _ _ _ _ _ __
3. Length of sentence: __C_t_.__

4. Nature of offense involved (all counts):             Ct. 1- Poss W/I to Distribute Hydrocodine,

 AJprazoJaro, Oyxcodone,                            &   Morphine; Ct. 2                    Poss W/I to Djstribute
 Marijuana.            (§§841(a)(l)/{b}{l) {C} & 841{a}{l}/{b}{l}{D ) Penalties

 Wjth Enhanced Penalties 2J                               u.s.c.          §§851        (Respectively)
5. What was your plea? (Check one)
   (a) Not Guilty            D
   (b) Guilty                IX
   (c) Nola contendere       D
If you entered a guilty plea to one count or indictment, and not a guilty plea to another count or indictment,

give details: _ _ _ . _ , . _ , _ . " " ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




6. If you. pleaded not guilty, what kind of trial did you have? (Check one)                    N/A
   (a) Jury                        D
  (b) Judge only                   D

7. Did you testify at the trial?      Yes       o   No    IZ




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8. Did you appeal from the judgment of conviction to the Eleventh Circuit Court of Appeal?
        Yes D No IX

9. If you did appeal, answer the following:

   (a) Result:    NA

   (b) Date of result and mandate:

10. Did you file a petition for rehearing?    N/A
        Yes D No QC

11. If you did file a petition for rehearing, provide the date and res ult of the petition:    N/A



12. Did you file a petition for certiorari review?
        Yes D No c:X

13. If you did file a petition for certiorari review, provide the date and result of the petition:   N/A



14. Have you previously filed any post-conviction petitions, applications or motions, including previous
    § 2255 motions, with respect to this judgment in any federal court?
        Yes D       No ~
15. If your answer to 14 was "yes," give the following information:

   (a)   (1) Nameofcourt: _N_/,.__A_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    (2) Nature of proceeding: _ _.,,,_,_,,__A....__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




    (3) Grounds raised: ---'N::.:.L...::A- =------------------ ------------




    (4) Did you receive an evidentiary hearing on your petition, application or motion?
        Yes D       No !lE

   (5) Result:            NA

   (6) Date of result:   N/A
                         --'---------- ------------- --------
   ( b) If you filed more than one such petition, please include the same information requested in 11 (a)
        on a separate sheet of paper.



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      (c) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken
          on your petition, application or motion?
          (1) First petition, etc.              Yes D       No IX
          (2) Second petition, etc.             Yes D       No IX

      (d) If you did not appeal from the adverse action of any petition, application or motion, explain briefly

          why you did not:      NA




16. State concisely every ground on which you claim that you are being held in violation of the
constitution, laws or treaties of the United States. Summarize briefly the facts supporting each ground. If
necessary, you may attach pages stating additional grounds and facts supporting the same.

Caution: If you fail to set forth all grounds in this motion, you may be barred from presenting additional
grounds at a later date.

A.     Ground one:     Violation of Petitioner's Fourth Amendment Right:
      Agents lacked Probable Cause to make summary entry and search
      Supporting FACTS (state briefly without citing cases or law):    Sgt. Ingle and the Task Force
       lacked "probable cause" pursuant to the Federal Constitution's Fourth

       Amendment Right, when Sgt. Ingle approached the residence 57 Valley Hills
       in Northport with a 'show of police force' without a warrant or any reliable

       evidence that a crime was taking place, nor with confirmation & visuals that
       anyone at the residence was COllilliitting a crime at that date and time.

B.    Ground~o:      violation of Petitioner's Due Process of Law Right;
      Petitioner was deprived of a "Probable Cause" Hearing after arrest.

      Supporting FACTS (state briefly without citing cases or law):   Petitioner's warrantless arrest

      based upon incorrect and unfounded suspicion nnjustJy prolonged my detention,
     care of Mother who is a cancer patient, & impaired family relationships,

     as well, subjected to VOP of State Probation. Sgt. Ingle of the West Alabama

     Narcotics Task Force stated in his affidavit: "had 'previously' received

     information that Foster was at this residence selling narcotics''                              without


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         c.    Ground three:       Sgt. Ingle      &   WANTF Agents violated Foster s Fourth
         Amendment Rights against "unreasonable search and seizures".

               Supporting FACTS (state briefly without citing cases or law):   The Fourth Amendment Right
         to the Federal Constitution, in order to protect the rights of
          citizens to be secure against "unreasonable search and seizures"
          by federal officials requires (1) search or warrants cannot be
          issued without a showing of probable cause, and (2) such showing
                               '                       '
         must be supported, not by causal assertions of supposed fact,
        D.    Ground four:         Petitioner was Deprive of the Effective Assistance
          of Counsel When He Misrepresented the Terms                                 &   Rights Given Up.
              Supporting FACTS (state briefly without citing cases or law):    Counsel 1 ~ failure to

          investjgate the violation of Petitioner's Fourth Amendment Rights
          against "unreasonable search and seizure" demonstrated a failure

          to bring such knowledge and skills secure Petitioner's Constitutional
          Rights to the fullest extent of the law, and to inform Petitioner
          of all the rights he'd forfeited as a result of pleading guilty.
        17.    As to the grounds listed in 16A, B, C, and D, explain whether any grounds were previously presented,

        and for those that were not previously presented, state briefly your reasons far not presenting them:   Non

          were raised. Petitioner is pro-se, and does not know the law.
        Notwithstanding the defense being his, courts only allow attorneys
        to speak, then penalize defendant for the attorney's omissions.
        18. Do you have any petition or appeal now pending in any court as to the judgment under attack?
            Yes D      No JgJ

        19. Do you have any future sentence to serve after you complete the sentence imposed by the judgment
        under attack?                     .
            Yes D      No p(

              (a) If so, give name and location of court which imposed sentence to be served in the future:
                                                                                                              ---




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 Ground three.

    Supporting Facts: but by statements formally and solemnly

 attested to under an "Oath or Affirmation". Sgt. Ingle, and the

 West Alabama Narcotices Task Force had ample time and opportunity

 to seek out neutral magistrate to sign and issue a warrant basae

 upon a sufficient showing that Foster and other at 57 Valley Hills

 in Northport, Alabama were actually involved in some criminal

 activities deserving of apprehension and arrest.



17. (Continues): Any and every omission court appointed attorneys

make or intentionally fails to bring to the defense of an defendant

before the court is rescognized as unprejudiced and later held

against the legally illiterate defendant, how then is a defendant's

constitutional rights protected when his trust in court appointed

attorneys are usurped and foresaken for the sake of judicial economy

and efficiency of process. Defendants cannot even speak for themselve

without the federal judicial officials coming down on them for

trying to defend against sentences that take them from their family

forever. Courts say "ignorance is no excuse for the law" to all

who have not studied law, but, why then are law enforcement officers

held to more accountability when they murder unarmed African Americans.

They know the law and are extend the full due process and zealously

defended to the fullest extent of the law. Is this "Equal Protection

Of the Law"?. I am confused. Am I a United States Citizen?
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                                CERTIFICATE OF SERVICE

         I, JAVON SANTRELL FOSTER, HEREBY CERTIFY that on this

ll   Day of June 2021, C.E. I served a true and correct copy of my

initial Post Conviction Motion pursuant to §2255, by placing same

in the hands of the Prison Mail Room Staff for mail to:

         Office Of The Clerk Of Court
         Northern District of Alabama
         Hugo L. Black U.S. Courthous e
         Rm. 140, 1729 5th Avenue North
         Birmingham , Alabama 35203

Via Certified Mail Registrati on Number:              7/J~ ;_t/SO oot,O ~(i-11533
Dated,   _/u
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                     I
                                     Signature ,    iu&11 ~ ) ~
                                                   Yavon Santrell Foster
                                                   Reg. No. 36725-001
                                                   Talladega FCI MED
                                                   565 East Renfroe Rd.
                                                   Talladega , AL 35160
